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                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                                             Bard Peripheral Vascular, Inc. ; C.R.
   Plaintiff(s): Jo Lutness                                               Defendant(s):
                                                                                             Bard, Inc
   County of Residence: Outside the State of Arizona                     County of Residence: Maricopa
   County Where Claim For Relief Arose: Outside the
   State of Arizona


   Plaintiff's Atty(s):                                                  Defendant's Atty(s):
   John A. Dalimonte
   85 Devonshire Street, Suite 1000
   Boston, Massachusetts 02109
   833-433-7529



  II. Basis of Jurisdiction:                    4. Diversity (complete item III)

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
                            Plaintiff:- 2 Citizen of Another State
                          Defendant:- 4 AZ corp or Principal place of Bus. in AZ

  IV. Origin :                                  6. Multidistrict Litigation

  V. Nature of Suit:                            365 Personal Injury - Product Liability

  VI.Cause of Action:                           28 USC 1332 - Diversity, Product Liability - Bard IVC Filter MDL 2641

  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand:
                     Jury Demand: Yes

  VIII. This case IS RELATED to Case Number 2:15-MD-2641 assigned to Judge David G. Campbell.

  Signature: /s/John A. Dalimonte
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           Date: 03/01/2019
  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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